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JS 44 (Rev, 08/16) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SHE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS DEFENDANTS
Adam Mikel Roseman Allied Van Lines
(b) County of Residence of First Listed Plaintiff Fulton County of Residence of First Listed Defendant
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (if Known) .

Adam Mikel Roseman Scott W. McMickle and David L. Schwartz

900 Marseilles Drive McMickle Kurey & Branch LLP

Atlanta, GA 30327 200 South Main Street Alpharetta, Georgia 30009

Il. BASIS OF JURISDICTION (Ptace an “X” in One Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

(For Diversity Cases Only) and One Box for Defendant)

O 1 U.S. Government 43° Federal Question PTY DEF PIF DEF

Plaintiff (U.S. Government Not a Party) Citizen of This State (1 C1 Incorporated or Principal Place o4 4
of Business In This State

172 US. Government 14 Diversity Citizen of Another State 1 2 © 2 Incorporated and Principal Place os &s

Defendant (Indicate Citizenship of Parties in Item Il) of Business In Another State
Citizen or Subject of a a3 3. Foreign Nation o6 6
Foreign Country

ly)

IV. NATURE OF SUIT (Place an “X” in One Box On

Click here for: Nature of Suit Code Descriptions.
_CONTRACE :

_BANKRUPFECY | OTHER STATUTES

FOREELTURE/PENALE

1 110 Insurance PERSONAL INJURY PERSONAL INJURY — | 625 Drug Related Seizure (1 422 Appeal 28 USC 158 1 375 False Claims Act
(J 120 Marine 0 310 Airplane 1 365 Personal Injury - of Property 21 USC 881 |0 423 Withdrawal O 376 Qui Tam (31 USC
(1 130 Miller Act (7 315 Airplane Product Product Liability 0 690 Other 28 USC 157 3729(a))
1 140 Negotiable Instrument Liability (1 367 Health Care/ 1 400 State Reapportionment
C1 150 Recovery of Overpayment | (I 320 Assault, Libel & Pharmaceutical! PC BROPERT 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 8 820 Copyrights 1 430 Banks and Banking
[1 151 Medicare Act (1 330 Federal Employers’ Product Liability O 830 Patent 0 450 Commerce
1 152 Recovery of Defaulted Liability (1 368 Asbestos Personal 1 840 Trademark 1 460 Deportation
Student Loans (3 340 Marine Injury Product O 470 Racketeer Influenced and
(Excludes Veterans) 1 345 Marine Product Liability LABOR: co SECU J Corrupt Organizations
( 153 Recovery of Overpayment Liability PERSONAL PROPERTY JO 710 Fair Labor Standards C1 861 HIA (1395ff) C1 480 Consumer Credit
of Veteran's Benefits 1 350 Motor Vehicle C1 370 Other Fraud Act (1 862 Black Lung (923) 1 490 Cable/Sat TV
1 160 Stockholders’ Suits ( 355 Motor Vehicle 1 371 Truth in Lending C1 720 Labor/Management OJ 863 DIWC/DIWW (405(g)) | 0 850 Securities/Commodities/
& 190 Other Contract Product Liability (7 380 Other Personal Relations C1 864 SSID Title XVI Exchange
(1 195 Contract Product Liability | 360 Other Personal Property Damage O 740 Railway Labor Act 1 865 RSI (405(g)) (1 890 Other Statutory Actions
(1 196 Franchise Injury (I 385 Property Damage C751 Family and Medical C1) 891 Agricultural Acts
TF 362 Personal Injury - Product Liability Leave Act O) 893 Environmental Matters
Medical Malpractice C1 790 Other Labor Litigation 1 895 Freedom of Information
_ CIVIL RIGHTS : C1 791 Employee Retirement \  EEDERAL TAX SUITS | Act
C 210 Land Condemnation 0 440 Other Civil Rights Habeas Corpus: Income Security Act 1 870 Taxes (US. Plaintiff 1 896 Arbitration
1 220 Foreclosure (441 Voting ( 463 Alien Detainee or Defendant) O 899 Administrative Procedure
( 230 Rent Lease & Ejectment © 442 Employment G 510 Motions to Vacate O 871 IRS—Third Party Act/Review or Appeal of
1 240 Torts to Land © 443 Housing/ Sentence 26 USC 7609 Agency Decision
C1 245 Tort Product Liability Accommodations [1 530 General C1 950 Constitutionality of
C1 290 All Other Real Property (7 445 Amer, w/Disabilities -] [535 Death Penalty RATION State Statutes
Employment Other: C1 462 Naturalization Application
C1 446 Amer, w/Disabilities -| 540 Mandamus & Other | 465 Other Immigration
Other © 550 Civil Rights Actions
C1 448 Education (1 555 Prison Condition
1 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an "X” in One Box Only
1 Original (K2 Removed from 3  Remanded from (1 4 Reinstated or © 5 Transferred from © 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Gite {hove oh il Statute under which you are filing (De not cite jurisdictional statutes unless diversity):
wi, :
VI. CAUSE OF ACTION Brief description of cause:
Carmack
VII. REQUESTED IN C CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: 1 Yes No
VIII. RELATED CASES)
ee instructions):
IF ANY ( * JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
01/25/2017 nen

FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG, JUDGE

